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UNITED STATES DISTRICT COURT _.
DISTRICT OF MASSACHUSETTS... : : 7 a

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In re: NEURONTIN MARKETING, —) ~~ MDL Docket No. 1629.01.02 =" fou |

SALES PRACTICES AND PRODUCTS )
LIABILITY LITIGATION

Master File No. 04-10981 ©. 5 7 =
Judge Patti B. Saris

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) Magistrate Judge Leo T. Sorokin
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PLAINTIFF CYNTHIA ULETT LYNCH’S MOTION TO AMEND RELEVENT
MEDICAL RECORDS, ALLEGATIONS AND NEW SUPPORTING EVIDENCE OF
THE COMPLAINT IN THE ABOVE ENTITLED ACTION

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES CYNTHIA ULETT LYNCH, Plaintiff in the above captioned and
Numbered cause, complaining of and against Defendant PFIZER ina
PRODUCT LIABILITY/PERSONAL INJURY ACTION, and for cause of action would

Show unto the court the following:

1. ISSUES OF FACT AND LAW.

2. NEURONTIN OFF-LABEL SIDE EFFETS AND DANGERS.
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I.

ISSUES OF FACT AND LAW
The defendant manufactured or sold the product.
The product is defective or dangerous.
The defect was a hidden defect or the product was a dangerous.
The product caused injury or damage to plaintiff.
The defendant recalled EPILEPSY MEDICINE, Exhibit “A”.
Copy of plaintiff's certification per November 9, 2007 order, Exhibit “B”.
Defendant’s acknowledgement of complaint, Exhibit “C”.
Copy of Neurontin prescription and unused drug, Exhibit “D”,
Copy of 1996 message from Richard Grady, Exhibit “E”.
List of defective drugs, Exhibit “F”.
Medical record with Neurontin, Exhibit “G”.
LEGAL information on Neurontin, Exhibit “H”.
FDA information on Neurontin, Exhibit “I“.
Drug Industry Document/NEURONTIN, Exhibit “I”.
RESEARCH, Exhibit “K”.
NEWS RELEASE, Exhibit “L”.
Calculation of damages for the NEURONTIN MDL PLAINTIFFS, Exhibit “ M”.
Department of Health response in Re: to Neurontin, Exhibit “N”.
Copies of front pages to JUDGES from Finkelstein & Partners, Exhibit “O”.
NEURONTIN, Exhibit “P”.

Annals of Internal Medicine, Exhibit “Q”.
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22, ~~ Front page of EXPERT REPORT OF NICHOLAS P. JEWELL. Ph.D. Exhibit “R”.
23. Front page of Drug Facts and Comparisons, Exhibit “S”.

24.‘ Front page DEPARTMENT OF JUSTICE, Exhibit “T”.

I.

PRODUCT LIABILITY /NEURONTIN OFF-LABEL SIDE EFFECTAND DANGERS

Plaintiff brings this suit to recover damages sought against the manufacture for

producing and selling products with safety defects.

“Product Liability” is the term used for litigation when a person has been injured by a
Product which has been improperly designed, manufactured or maintained.
A basic principle in product lability law is that manufacturers and providers of any product
Including those who make drugs — are responsible for making and keeping the public aware of
The dangers of the product. When a company announces findings of new dangers its product
Poses to the public, the company has a legal duty to offer compensation to those it failed to warn
In time. Under product liability law, simply because a company “didn’t know’ its product
Proved dangerous until new research revealed those risks is unfair practices.

Through the very highest standards of research and safety, companies must leave nothing to
Chance in assuring that the public knows all the risks of its product before releasing the product
for sale on the market.

Plaintiff alleges that defendant PFIZER violated section 82.001,2a, Civil Practice &
Remedies Code. The negligence of defendant violating section 82.007,2b,(1),4c,5. Section

82.008, b (1), (2).
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Plaintiff alleges defendant violated the Health & Safety Code, section 483.002.005, 006 etc

At the time of consumption of this drug in question, Plaintiff was involved in a MVP accident on
Her job in May, 2002. Plaintiff had no insurance and was referred to Texas Rehab.
Plaintiff was seen by Dr. Jeffery Clarke in 2004, at the Scott & White hospital. Plaintiff was
Having serious pain in the back of her head as a result of hitting her head on the cement.
Plaintiff was never told about the effects of that drug, if not she would have refused the drug.
Plaintiff was a medication aide. Plaintiff took one pill each day for fifteen days, when plaintiff
Felt she could not move her hands and legs. Plaintiff called the Texas Rehab and spoke to
Ms. Louise who told her and she agreed to stop taking the pills.
Plaintiff reported the problem to PFIZER.

Plaintiff would show that, as a direct result of taking the medication NEURONTIN, plaintiff
ls seeking damages including general and compensatory for severe personal injuries, past and

future pain and suffering, mental anguish and punitive damages.

Ill.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully request that she recover Judgment against the

Defendant PFIZER the following:

1. past medical expenses;

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past and future mental anguish;
3. past bodily impairment;

4. compensatory and punitive damages;
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5, costs of court;
6. pre-and-post-judgment interest as provided by law; and
7. for such other further relief, both general and special, at law or in equity, to which

Plaintiff may show justly entitled.

Respectfully submitted,

CYNTHIA ULETT LYNCH
1817 Dusk Drive

Killeen, Texas 76543

(254) 680-755]

By: Cu Re W FE Qo
CYNTHIA ULETT LYNCH
Pro se

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing docume ent has been sent by certified mail,

return receipt requested, to the following on = e dayof Maye) DOO XY

SHOOK, HARDY & BACON, LLP
2555 Grand Blvd,
Kansas City, MO 64108-2613

DAVIS, POLK & WARDWELL

450 Lexington Avenue
New York, NY 10017

Attorneys for PFIZER Defendant
